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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                      :
                                              :       CASE NO. 1:21-cr-00184-BAH
               v.                             :
                                              :
JAMES ALLEN MELS,                             :
                                              :
                       Defendant.             :


                    GOVERNMENT’S OPPOSITION TO DEFENDANT’S
                          MOTION TO TRANSFER VENUE


       Defendant James Allen Mels, who is charged in connection with events at the U.S. Capitol

on January 6, 2021, has moved to transfer venue in this case to another unspecified district “outside

of the District of Columbia.” (E.g., ECF No. 42, at 22). The defendant fails to establish that he

“cannot obtain a fair and impartial trial” in this district, Fed. R. Crim. P. 21(a), and this Court

should deny his motion.1

                                         BACKGROUND

       On January 6, 2021, a Joint Session of the United States House of Representatives and the

United States Senate convened to certify the vote of the Electoral College of the 2020 U.S.

Presidential Election. While the certification process was proceeding, a large crowd gathered

outside the United States Capitol, entered the restricted grounds, and forced entry into the Capitol



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         This Court and every other judge of this District to have ruled on a motion for change of
venue in a January 6 prosecution has denied the motion. See, e.g., United States v. Williams, No.
21-cr-377 (June 10, 2022) (Minute Entry) (BAH); United States v. Webster, No. 21-cr-208, ECF
No. 78 (D.D.C. Apr. 18, 2022) (APM); United States v. Alford, 21-cr-263, ECF No. 46 (D.D.C.
Apr. 18, 2022) (TSC); United States v. Brooks, No. 21-cr-503, ECF No. 31 (D.D.C. Jan. 24, 2022)
(RCL); United States v. Bochene, No. 21-cr-418-RDM, 2022 WL 123893 (D.D.C. Jan. 12, 2022)
(RDM); United States v. Fitzsimons, No. 21-cr-158 (D.D.C. Dec. 14, 2021) (Minute Order) (RC);
United States v. Reffitt, No. 21-cr-32 (D.D.C. Oct. 15, 2021) (Minute Order) (DLF); United States
v. Caldwell, 21-cr-28, ECF No. 415 (D.D.C. Sept. 14, 2021) (APM).
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building. As a result, the Joint Session and the entire official proceeding of the Congress was

halted until law enforcement was able to clear the Capitol of hundreds of unlawful occupants and

ensure the safety of elected officials.

       On January 7, 2021, the FBI received a tip that James Allen Mels of Shelby Township,

Michigan entered the Capitol building during the previous day’s attack. On January 25, 2021, FBI

task force officers interviewed Mels in the parking lot of his residence. During that interview,

Mels told the investigators that he traveled to the Capitol in January 2021 with 11 other “like

minded Patriots,” whom he met through online platforms such as “The Patriot Hour” and “X-22,”

because he believed that the 2020 presidential election had been fraudulently decided. Mels also

told the FBI that, on January 6, 2021, he entered the Capitol building intending to speak with an

officer, to present his copy of the United States Constitution, and to have his voice heard. Mels

also showed the interviewing officers pictures he took inside and outside the Capitol building on

January 6. Closed-circuit surveillance video from inside the Capitol shows that Mels entered the

Capitol building through the breached Senate Wing Door only moments after other rioters forcibly

broke the door and adjacent windows open.

       Based on his actions on January 6, 2021, the defendant was charged with four offenses:

entering and remaining in a restricted building or ground, in violation of 18 U.S.C. § 1752(a)(1)

(Count One); disorderly and disruptive conduct in a restricted building or grounds, in violation of

18 U.S.C. § 1752(a)(2) (Count Two); disorderly conduct in a Capitol building, in violation of 40

U.S.C. § 5104(e)(2)(D) (Count Three); and parading, demonstrating, or picketing in a Capitol

building, in violation of 40 U.S.C. § 5104(e)(2)(G) (Count Four). (ECF No. 7).

       The defendant now moves for a change of venue. (ECF No. 42). He contends that

prejudice should be presumed in this district for three primary reasons: (1) the results of surveys

of potential jurors; (2) the size, characteristics, and political makeup of the District of Columbia


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jury pool, including the impact of January 6 on Washington, D.C.; and (3) the media coverage and

pretrial publicity surrounding the events of January 6. The defendant also suggests in passing that

venue should be transferred under Federal Rule of Criminal Procedure 21(b). Each of the

defendant’s arguments is without merit, and the motion should be denied.

                                           ARGUMENT

       The Constitution provides that “[t]he trial of all Crimes … shall be held in the State where

the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. The Sixth Amendment

similarly guarantees the right to be tried “by an impartial jury of the State and district wherein the

crime shall have been committed.” U.S. Const. amend. VI. These provisions provide “a safeguard

against the unfairness and hardship involved when an accused is prosecuted in a remote place.”

United States v. Cores, 356 U.S. 405, 407 (1958). Transfer to another venue is constitutionally

required only where “extraordinary local prejudice will prevent a fair trial.” Skilling v. United

States, 561 U.S. 358, 378 (2010); see Fed. R. Crim. P. 21(a) (requiring transfer to another district

if “so great a prejudice against the defendant exists in the transferring district that the defendant

cannot obtain a fair and impartial trial there”).

       The primary safeguard of the right to an impartial jury is “an adequate voir dire to identify

unqualified jurors.” Morgan v. Illinois, 504 U.S. 719, 729 (1992) (italics omitted). Thus, the best

course when faced with a pretrial publicity claim is ordinarily “to proceed to voir dire to ascertain

whether the prospective jurors have, in fact, been influenced by pretrial publicity.” United States

v. Campa, 459 F.3d 1121, 1146 (11th Cir. 2006) (en banc). “[I]f an impartial jury actually cannot

be selected, that fact should become evident at the voir dire.” United States v. Haldeman, 559 F.2d

31, 63 (D.C. Cir. 1976) (en banc) (per curiam). And, after voir dire, “it may be found that, despite

earlier prognostications, removal of the trial is unnecessary.” Jones v. Gasch, 404 F.2d 1231, 1238

(D.C. Cir. 1967).


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I.      The Polls Submitted by the Defendant Do Not Support a Presumption of Prejudice.

        Mels relies on two polls conducted at the request of defendants in other cases. First, he

relies on a poll conducted by Select Litigation, a private litigation consulting firm, at the request

of the Federal Public Defender for the District of Columbia. (ECF No. 42, at 4-5). Select

Litigation conducted a telephone poll of potential jurors in the District of Columbia and in the

Atlanta Division of the Northern District of Georgia and contracted with a media research firm

(News Exposure) to analyze news media coverage of January 6 in both of those jurisdictions. Mels

also relies on a poll conducted by In Lux Research (“ILR”) at the request of defendants charged in

another case. ILR conducted a telephone poll of potential jurors in the District of Columbia and

in three other jurisdictions: the Ocala Division of the Middle District of Florida, the Eastern District

of North Carolina, and the Eastern District of Virginia. (ECF No. 42, at 5, 7-9). Neither survey

supports a change of venue.

        A.      Courts have repeatedly declined to find a presumption of prejudice based on
                pretrial polling without conducting voir dire.

        Mels argues that this Court should find a presumption of prejudice based on polls of

prospective jurors. But “courts have commonly rejected such polls as unpersuasive in favor of

effective voir dire as a preferable way to ferret out any bias.” United States v. Causey, 2005 WL

8160703, at *7 (S.D. Tex. 2005). As one circuit has observed, the Supreme Court’s emphasis on

the important role of voir dire in addressing pretrial publicity “undercuts” the “argument that poll

percentages … decide the question of a presumption of prejudice.” In re Tsarnaev, 780 F.3d 14,

23 (1st Cir. 2015) (per curiam); see Mu’Min v. Virginia, 500 U.S. 415, 427 (1991) (observing that,

“[p]articularly with respect to pretrial publicity, … primary reliance on the judgment of the trial

court makes good sense”).

        Indeed, the D.C. Circuit has rejected a claim of presumed prejudice based on the results of



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a pre-voir dire survey.     Haldeman, 559 F.2d at 64.          In Haldeman, seven former Nixon

administration officials (including the former Attorney General of the United States) were

prosecuted for their role in the Watergate scandal. Id. at 51. According to a poll commissioned

by the defense in that case, 93% of the Washington, D.C. population knew of the charges against

the defendants and 61% had formed the opinion that they were guilty. Id. at 144, 178 n.2

(MacKinnon, J., concurring in part and dissenting in part). Recognizing that the case had produced

a “massive” amount of pretrial publicity, id. at 61, the D.C. Circuit nevertheless held that the

district court “was correct” to deny the defendants’ “pre-voir dire requests for … a change of

venue,” id. at 63-64. The court observed that the district court “did not err in relying less heavily

on a poll taken in private by private pollsters and paid for by one side than on a recorded,

comprehensive voir dire examination conducted by the judge in the presence of all parties and

their counsel.” Id. at 64 n.43; see Jones, 404 F.2d at 1238 (observing that it is “upon the voir dire

examination,” and “usually only then, that a fully adequate appraisal of the claim [of local

community prejudice] can be made” (quotation omitted)).

       Other circuits have similarly rejected attempts to elevate polling results over voir dire. In

United States v. Campa, a pretrial survey found that 69% of respondents were prejudiced against

anyone charged with spying on behalf of Cuba, as the defendants were. Campa, 459 F.3d at 1157

(Birch, J., dissenting). The en banc Eleventh Circuit affirmed the denial of a motion for change of

venue, explaining that “[w]hen a defendant alleges that prejudicial pretrial publicity would prevent

him from receiving a fair trial, it is within the district court’s broad discretion to proceed to voir

dire to ascertain whether the prospective jurors have, in fact, been influenced by pretrial publicity.”

Id. at 1146 (majority opinion).

       Similarly, in United States v. Rodriguez, 581 F.3d 775 (8th Cir. 2009), a poll indicated that

99 percent of respondents had heard about the brutal rape and murder with which the defendant


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was charged, nearly 88 percent of those respondents believed he was guilty, and about 42 percent

of respondents had a strongly held opinion of his guilt. Id. at 786; Brief for the Appellant, United

States v. Rodriguez, No. 07-1316 (8th Cir.), 2008 WL 194877, at *19. Nonetheless, the Eighth

Circuit found no presumption of prejudice, observing that a district court was not required “to

consider public opinion polls when ruling on change-of-venue motions.” Rodriguez, 581 F.3d at

786. And the court held that, in any event, the poll did not “demonstrate widespread community

prejudice” because the “media coverage had not been inflammatory,” two years had passed since

the murder, and “the district court concluded that special voir dire protocols would screen out

prejudiced jurors.” Id.

       There are good reasons to rely on voir dire, rather that public-opinion polls when assessing

whether prejudice should be presumed. First, polling lacks many of the safeguards of court-

supervised voir dire, including the involvement of both parties in formulating the questions.

Surveys that are not carefully worded and properly conducted can produce misleading results, such

as by asking leading questions or providing the respondents with facts that will influence their

responses. See Campa, 459 F.3d at 1146 (noting problems with “non-neutral” and “ambiguous”

questions). Second, polling lacks the formality that attends in-court proceedings under oath, and

it does not afford the court the “face-to-face opportunity to gauge demeanor and credibility.”

Skilling, 561 U.S. at 395. Third, polls ordinarily inform the court only of the extent to which

prospective jurors have heard about a case and formed an opinion about it. But that is not the

ultimate question when picking a jury. A prospective juror is not disqualified simply because he

has “formed some impression or opinion as to the merits of the case.” Irvin, 366 U.S. at 722.

Instead, “[i]t is sufficient if the juror can lay aside his impression or opinion and render a verdict

based on the evidence presented in court.” Id. at 723. But pretrial surveys are poorly suited to

answering that ultimate question, which is best asked in the context of face-to-face voir dire under


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oath. See Rosales-Lopez v. United States, 451 U.S. 182, 188 (1981) (observing that the trial judge’s

function in voir dire “is not unlike that of the jurors later in the trial” because “[b]oth must reach

conclusions as to impartiality and credibility by relying on their own evaluations of demeanor

evidence and of responses to questions”).

         In sum, federal courts have shown an overwhelming preference for assessing prejudice

through court-supervised voir dire rather than through public opinion polls. And Mels has not

offered any reason to depart from that usual practice here. Thus, this Court need not give

substantial weight to the polling when considering whether to presume prejudice.                But, as

explained below, the polls submitted by Mels does not support a presumption of prejudice in any

event.

         B.     The Select Litigation poll does not demonstrate pervasive prejudice in the
                District of Columbia.

         Contrary to the defendant’s contention, the Select Litigation poll does not support a

presumption of prejudice in this District. As an initial matter, the Select Litigation poll selected

only one comparator jurisdiction, the Atlanta Division of the Northern District of Georgia. The

defendant has not requested a transfer to that district or division; in fact, Mels never specifies the

district to which he asks this Court to transfer the case at all. The Select Litigation survey tells the

Court nothing about the views or media exposure of prospective jurors in any district other than

the Atlanta Division of the Northern District of Georgia, a venue to which Mels appears to have

no connection. The poll therefore cannot show that selecting an impartial jury would be any more

difficult in the District of Columbia than in the defendant’s as-yet-unspecified preferred district.

See Haldeman, 559 F.2d at 64 n.43 (observing that a change of venue “would have been only of

doubtful value” where the pretrial publicity was national in scope).

         Furthermore, to the extent the poll is useful at a more general level in comparing the District



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of Columbia to other districts, the poll indicates that levels of media exposure to the events of

January 6 are not significantly different in Atlanta and Washington, D.C. The number of

respondents who had seen “[a] lot” of coverage in each jurisdiction differed only by three

percentage points (33% in D.C. versus 30% in Atlanta), which is within the margin of error. (ECF

No. 42-1, at 1-2, 14). The number of respondents who had seen “[s]ome” coverage was exactly

the same (25% in both jurisdictions), and the number who had seen “[q]uite a bit” of coverage was

not significantly different (28% in D.C. versus 20% in Atlanta). Id. at 14. The total percentage of

respondents who were exposed to “[a] lot,” “[q]uite a bit,” or “[s]ome” news coverage was 86%

in Washington, D.C. and 75% in Atlanta. Id. This relatively small difference does not suggest

that news coverage has made it impossible to pick an impartial jury in Washington, D.C.

       The defendant points out (ECF No. 42, at 6, 10) that 71% of respondents in D.C. said they

had formed the opinion that January 6 arrestees were “guilty” of the charges brought against them.

(See ECF No. 40-1, at 14). The survey failed, however, to identify (much less define) any of the

charges brought against the defendant. It also failed to provide respondents with the option of

saying they were “unsure” about guilt, even though such an option is required by professional

standards that apply in this area. See American Society of Trial Consultants, Professional

Standards           for      Venue         Surveys          at       9,        available         at

https://www.astcweb.org/Resources/Pictures/Venue%2010-08.pdf (“Respondents must be made

aware that they can say they do not know or have no opinion.”). The survey instead gave

respondents a binary choice between “guilty or not guilty.” (ECF No. 42-1, at 14). Yet even

without being provided the appropriate options, 26% of D.C. respondents voluntarily gave an

answer of “Depends” or “Don’t know/Refused.” Id. This shows that, even in response to a poorly

worded question, more than a quarter of the District’s residents realized the need to keep an open

mind about guilt.


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       Understood in context, the Select Litigation poll does not indicate any higher degree of

juror bias than in Haldeman, where the en banc D.C. Circuit found no presumption of prejudice.

In Haldeman, 61% of respondents expressed a view that the defendants were guilty, as opposed to

the 71% here. See Haldeman, 559 F.2d at 144, 178 n.2 (MacKinnon, J., concurring in part and

dissenting in part). But the survey in Haldeman first asked respondents whether they had formed

an opinion about whether the indicted Nixon aides were guilty or innocent, giving options for both

“No” (i.e. had not formed an opinion) and “Don’t Know/No Opinion.” Id. at 178 n.2. The survey

then asked whether respondents thought the defendants were “guilty or innocent in the Watergate

affair,” giving options for “Not Guilty Until Proven” and “No Opinion/Don’t Know.” Id. Only

after (a) being prompted to consider whether they could actually form an opinion, and (b) being

reminded of the presumption of innocence, did 61% of respondents say “guilty.” Id. Here, by

contrast, respondents were not provided a “don’t know” option, were not reminded of the

presumption of innocence, and were asked only whether they thought the “several hundred people”

arrested in connection with January 6 were “guilty.” (ECF No. 42-1, at 14 (Questions 3, 4).)

       When asked about guilt in the context of a criminal trial, however, respondents in the Select

Litigation survey were far less likely to give an answer of “guilty.” Question 5 asked them to

“[a]ssume [they] were on a jury for a defendant charged with crimes for his or her activities on

January 6” and then asked whether they were “more likely to vote that the person is guilty or not

guilty.” (ECF No. 42-1, at 14). In response to this question, only 52% of D.C. respondents said

“Guilty,” and fully 46% volunteered a response of “Depends” or “Don’t know/Refused.” Id. Thus,

when asked to consider guilt or innocence in the context of a “defendant charged with crimes,” as

opposed to the “several hundred people … arrested,” nearly half of D.C. residents were committed

to keeping an open mind – even without being instructed on the presumption of innocence or being

provided an option for “Do not know.” This indicates, if anything, a lower degree of prejudice


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than was present in Haldeman.

        Mels also observes (ECF No. 42, at 5, 9) that, according to the Select Litigation poll, 84%

of D.C. respondents had an “unfavorable” view of “people arrested for participating in the events

at the U.S. Capitol on January 6.” (ECF No. 42-1 at 14). Although that is higher than the 54% of

Atlantans with unfavorable views, it is quite similar to the results of a nationwide CBS poll, which

found that 83% of respondents “[s]omewhat disapprove” or “[s]trongly disapprove” of the “actions

taken by the people who forced their way into the U.S. Capitol on January 6.” See CBS News

Poll,     December       27-30,     2021,      Question      2,     https://drive.google.com/file/d/

1QNzK7xBJeWzKlTrHVobLgyFtId9Cgsq_/view. The defendant has not asked to be tried in

Atlanta, nor has he specified a preferred venue and provided any information about the views in

that venue. And, in any event, the fact that many D.C. residents have a generally “unfavorable”

view of people “arrested” on January 6 does not mean that an impartial jury cannot be selected in

this jurisdiction.

        The defendant also points out (ECF No. 42, at 5, 10) that 62% of D.C. respondents

(compared to 48% of Atlanta respondents) would describe “most of the people who were arrested

for their involvement in the events on January 6th” as “criminals.” (ECF No. 42-1, at 14 (Question

10)). The answers to this question likely reflect the commonly held view that most people arrested

for crimes are in fact guilty of those crimes. But the fact that 62% of D.C. respondents expressed

this off-the-cuff view about “most” of the 700-plus January 6th arrestees does not demonstrate that

all (or even many) of those respondents would be unable to impartially find the facts in a specific

case after being properly instructed by the Court. Moreover, the question demonstrates that fully

28% of D.C. respondents would not describe those arrestees as criminals, and 9% were unsure or

refused to answer. (ECF No. 42-1, at 14). And the 14% difference between D.C. and Atlanta –

which could easily be explained by demographic differences such as age and education levels (see


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ECF No. 42-1, at 15) – would not justify the conclusion that this is an “extreme case” in which a

change of venue is required. Skilling, 561 U.S. at 381.

       Nor should prejudice be presumed because a substantial number of respondents “would”

describe “the people who forced their way into the U.S. Capitol” as “[t]rying to overturn the

election and keep Donald Trump in power” (85%), engaging in “[i]nsurrection” (76%), or “[t]rying

to overthrow the U.S. government” (72%). (ECF Nos. 42, at 7, 10-11; 42-1, at 15). For one thing,

this question asked specifically about those who “forced their way into the U.S. Capitol,” which

suggests a higher degree of culpability than simply entering the Capitol. For another, the poll did

not provide an “undecided” option but asked only whether respondents “would” or “would not”

use those descriptions. (ECF No. 42-1, at 15). 2 Nor did the question define the offenses of

“insurrection” or advocating the overthrow of government, see 18 U.S.C. §§ 2383, 2385, offenses

with which no defendant has been charged in connection with January 6. And, most importantly,

the poll did not answer the key question: whether a sufficient number of prospective jurors can

“lay aside [their] impression[s] or opinion[s] and render a verdict based on the evidence presented

in court.” Irvin v. Dowd, 366 U.S. 717, 723 (1961); see Patton v. Yount, 467 U.S. 1025, 1029

(1984) (no presumption of prejudice where nearly 99% of prospective jurors had heard of the case

and 77% indicated on voir dire that “they would carry an opinion into the jury box”). In short, the

Select Litigation poll does not come close to demonstrating that “12 impartial individuals could



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         Mels asserts (ECF No. 42, at 7) that these beliefs are relevant because “[t]o prove that
Mr. Mels ‘corruptly’ obstructed an official proceeding under 18 U.S.C. § 1512 (c)(2) as charged,
the government must at least prove that a defendant acted with the specific intent to obstruct a
Congressional proceeding (the counting of electoral votes, in the government’s theory).” Mels is
doubly wrong. For one thing, Mels is not charged with violating Section 1512(c)(2) at all. For
another, Section 1512(c)(2)’s mens rea requirement does not require a finding that the events of
January 6 were an “insurrection,” an “attack,” a “riot,” or a “protest that got out of control.” Mels’
conclusory assertion that those purported beliefs would taint a D.C. jury’s inquiry with respect to
18 U.S.C. §§ 1752(a)(1) and (2) – offenses with which Mels is charged – is equally meritless.

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not be empaneled” in Washington, D.C. Skilling, 561 U.S. at 382.

       C.      The In Lux Research poll does not demonstrate pervasive prejudice in the
               District of Columbia.

       Contrary to the defendant’s contention, the In Lux Research (“ILR”) poll does not support

a presumption of prejudice in this District. Again, the defendant has not requested transfer to any

of the ILR survey’s three comparator jurisdictions, and he has no apparent connection to those

districts. In any event, the poll would not support a change of venue even to those comparator

jurisdictions. The poll demonstrates that respondents in all four jurisdictions surveyed were aware

of the events of January 6 at similar rates. (ECF No. 42-2, at 25 (Question 1) (93.12% of D.C.

respondents “aware of” the demonstration at the U.S. Capitol, compared to 94.07% in Middle

Florida, 91.60% in Eastern North Carolina, and 94.27% in Eastern Virginia). The survey also

shows that respondents’ media or conversational exposure to the events of January 6 did not vary

significantly between jurisdictions. The survey asked respondents how often they “see, read or

hear about the events of January 6th from either the Media, Local Leaders or the people around

you.” (ECF No. 42-2, at 22 (Question 4)). The percentage of respondents reporting “[a]t least 10

times a week” was only slightly higher in D.C., with a response rate of 32.02%, compared to rates

between 25% and 28% in the other three jurisdictions. (ECF No. 42-2, at 25). And the percentage

of D.C. respondents answering “[s]everal times a week” or “[o]nce or twice a week” were

generally within one or two percentages points of respondents from other jurisdictions. Id.

(41.09% of D.C. respondents reported exposure “[s]everal times a week,” compared to 39.82%,

39.30%, and 34.58% in the other jurisdictions, and 22.05% of D.C. respondents reporting exposure

“[o]nce or twice a week,” compared to 20.66%, 22.68%, and 23.99% in the other jurisdictions).

The survey thus confirms that exposure to reports of the events of January 6 is not confined to

D.C., and the relatively small difference does not suggest that news coverage has made it



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impossible to pick an impartial jury in Washington, D.C.

       The ILR survey’s summary focuses on responses to “prejudicial prejudgment” questions.

(ECF No. 42-2, at 3). But those questions do not show that an impartial jury cannot be selected in

this District. The questions categorized as “prejudgment questions” were:

       (1) “Are you more likely to find a defendant charged with crimes for activities on January

           6th guilty or not guilty? Or is it too early to decide?” (72% of D.C. respondents

           answered “Guilty.”)

       (2) “In your opinion, which of the following terms best characterizes the Events of January

           6th? 1) An insurrection, 2) An attack, 3) A riot, 4) A protest that got out of control, 5)

           A rally.” (82% of D.C. respondents chose insurrection, attack, or riot.)

       (3) “Do you believe that the individuals who entered the Capitol on January 6th planned

           to do it in advance or decided to do it that day?” (71% of D.C. respondents selected

           “planned in advance.”)

       (4) “Do you believe The Events of January 6th were racially motivated?” (40% of D.C.

           respondents answered in the affirmative.)

(ECF No. 42-2, at 3-4, 9, 22-23). The last three of these questions do not support a presumption

of prejudice because they have little relevance to the potential issues at trial. The trial in this case

would not require jurors to determine whether the events of January 6 were an “insurrection,” an

“attack,” a “riot,” or a “protest that got out of control.” Indeed, no defendant has been charged

with the offense of insurrection, 18 U.S.C. § 2383, or of violating the Anti-Riot Act, 18 U.S.C.

§ 2101, in connection with the events of January 6.

       Nor would the charges in this case require the jurors to determine whether the defendant

“planned in advance” to enter the Capitol or whether the crimes were “racially motivated.” The

fact that some D.C. respondents have formed “prejudgments” on those questions does not


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demonstrate that they cannot follow this court’s instructions and decide this case based on the law

and the evidence. And even if it did, the solution would be to exclude prospective jurors who

indicated “prejudgments” during voir dire. The ILR survey shows that some percentage of

respondents in all surveyed jurisdictions expressed these so-called “prejudgments.” (ECF No. 42-

2, at 26 (Questions 6 and 9) (between 39% and 49% of respondents in other surveyed jurisdictions

thought entry into the Capitol was planned in advance, and between 11% and 20% believed the

events of January 6 were racially motivated)). This demonstrates that a careful voir dire would be

necessary in any jurisdiction, and it fails to show that voir dire would be inadequate to weed out

biased jurors in the District of Columbia.

       Nor do the responses to the first “prejudicial prejudgment” question support a presumption

of prejudice. That question asked respondents whether, in the abstract, they were “more likely” to

find a defendant charged in connection with January 6 “guilty or not guilty.” The question failed

to ask about any specific crimes. And it failed to ask respondents whether they could keep an open

mind and decide a case based on the law and the evidence if selected as a juror. Yet the Supreme

Court has made clear that the key question in jury selection is whether a prospective juror could

“lay aside his impression or opinion and render a verdict based on the evidence presented in court.”

Irvin, 366 U.S. at 722-723.

       When focusing on whether prospective jurors could set aside their “prejudgments” and

decide a case fairly, the ILR survey’s responses actually undermine the defendant’s claim that

prejudice should be presumed in this district. When asked whether it would be “possible for [them]

to be a fair and unbiased juror for a January 6th Defendant,” (ECF No. 42-2, at 24), a full 70.13%

of D.C. respondents said that they “could,” id. at 27. This number was actually higher than the

affirmative responses in the other three jurisdictions: Middle Florida (61.29%), Eastern North

Carolina (65.38%), and Eastern Virginia (69.52%). Id.


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       The ILR survey’s administrator asserts that “this representation may actually indicate a

failure to recognize or admit threats to fairness and impartiality.” (ECF No. 42-2, at 6). But the

survey’s findings do not justify that assertion. The administrator claims that because D.C.

residents were more likely to characterize the events of January 6 as an “insurrection,” “attack,”

or “riot,” or to believe they were criminal, pre-planned, or racially motivated, id. at 23, 26, those

residents “demonstrate[d] an inability to identify or unwillingness to report previously disclosed

bias when asked if they could be a fair and impartial juror,” id. at 6. But this assumes, contrary to

clear decisions from the Supreme Court, that any knowledge of or preconceived opinions about a

case make a juror unable to be impartial. See Reynolds, 98 U.S. at 155-56; Irvin, 366 U.S. at 723.

It also assumes that these jurors would fail to report these views to a judge during voir dire.

Particularly because the ILR survey had already asked respondents specific questions that the

survey claims showed “prejudicial prejudgment,” there is no reason to believe that D.C.

respondents were somehow unable or “unwilling[]” to report their own biases when asked if they

could be impartial.

       Moreover, when asked if their “neighbors would be fair and unbiased jurors for a January

6th Defendant,” D.C. respondents still answered “Yes” at a higher rate than the other surveyed

districts. (ECF No. 42-2, at 27 (53.25% in D.C., compared to 36.57% in Middle Florida, 45.10%

in Eastern North Carolina, and 40.89% in Eastern Virginia)). Thus, even when controlling for

respondents’ potential inability to discern their own biases, the survey does not indicate that D.C.

residents are substantially less able to be fair than prospective jurors from other jurisdictions. Nor

were D.C. respondents significantly more likely to worry about negative consequences to their

career or friendships if they were to “find[] a January 6th defendant Not Guilty.” Id. at 23, 27

(19.29% in D.C., compared to 17.68% in Middle Florida, 19.66% in Eastern North Carolina, and

18.56% in Eastern Virginia). The ILR survey does not support the conclusion that an impartial


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jury cannot be found in Washington, D.C.

       In any U.S. jurisdiction, most prospective jurors will have heard about the events of January

6, and many will have various disqualifying biases. But the appropriate way to identify and address

those biases is through a careful voir dire, rather than a change of venue based solely on pretrial

polling and media analyses. As in Haldeman, there is “no reason for concluding that the population

of Washington, D. C. [i]s so aroused against [the defendant] and so unlikely to be able objectively

to judge [his] guilt or innocence on the basis of the evidence presented at trial” that a change of

venue is required. Haldeman, 559 F.2d at 62.

II.    The Characteristics of the District of Columbia Jury Pool Do Not Support a
       Presumption of Prejudice.

       Mels contends that a D.C. jury could not be impartial because of various characteristics of

the District of Columbia’s jury pool: the prevalence of government workers in the District, the

practical and emotional impact of the January 6 attack on D.C. residents, and the political makeup

of the District’s electorate. (ECF No. 42, at 11-16). None of these claims has merit.

       A.      The number of federal employees who reside in the District of Columbia does
               not support a presumption of prejudice.

       The defendant argues that the Court should presume prejudice in this District because the

jury pool would contain a high percentage of federal government employees or their friends and

family members. (ECF No. 42, at 12-13). But the defendant provides no defensible explanation

– only broad generalizations – why merely being employed by the federal government would

render a person incapable of serving as an impartial juror. Although some federal employees, such

as the U.S. Capitol Police, were affected by the events of January 6, many others were neither

directly nor indirectly affected. Indeed, many federal employees were nowhere near the Capitol

on January 6 given the maximum telework posture at the time. And the storming of the Capitol

on January 6 was not aimed at the federal government in general, but specifically at Congress’


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certification of the electoral vote. There is therefore no reason to believe that federal employees

with little or no connection to the events at the Capitol could not be impartial in this case. See

United States v. Bochene, No. CR 21-418 (RDM), 2022 WL 123893, at *2 (D.D.C. Jan. 12, 2022)

(January 6 defendant’s claim that federal employees would “have a vested interest in supporting

their employer” was “exactly the kind of conjecture that is insufficient to warrant transfer prior to

jury selection”).

       Even assuming (incorrectly) that every federal employee is affected by improper bias, the

Court could draw a jury from those District residents who are not employed by the federal

government. According to the Office of Personnel Management, around 141,000 non-Postal

Service employees worked in Washington, D.C., in 2017. OPM, Federal Civilian Employment,

available at https://www.opm.gov/policy-data-oversight/data-analysis-documentation/federal-

employment-reports/reports-publications/federal-civilian-employment/.          But many federal

employees who work in the District live outside the District and would not be part of the jury pool.

And the District has nearly 700,000 residents. Even if every federal employee were disqualified,

the Court would be able to pick a jury in this District.

       B.      The impact of the January 6 attack on the District’s residents does not support
               a presumption of prejudice

       Mels’ reliance on the impact of the January 6 attack on the District’s residents (ECF No.

42, at 13-15) is also misplaced. It is true that the January 6 attack caused disruptions for the

District’s residents and was an attack on our democracy. But January 6 is now more than a year

in the past. Many D.C. residents do not live or work near the Capitol where the roads were closed

and the National Guard was deployed. There is no reason to believe that the District’s entire

population of nearly 700,000 people was so affected by these events in their daily lives that the

Court cannot seat an impartial jury here. Nor is there reason to believe that the traumatizing effects



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of the January 6 attack are materially more vivid in the District than in other districts.

       Indeed, courts routinely conclude that defendants can receive a fair trial in the location

where they committed their crimes, despite the fact that some members of the community were

victimized. See In re Tsarnaev, 780 F.3d 14, 15 (1st Cir. 2015) (Boston Marathon bombing);

Skilling, 561 U.S. at 399 (Enron collapse); United States v. Yousef, 327 F.3d 56, 155 (2d Cir. 2003)

(1993 World Trade Center bombing); United States v. Moussaoui, 43 F. App’x 612, 613 (4th Cir.

2002) (per curiam) (unpublished) (September 11, 2001 attacks, including on the Pentagon). In

Skilling, the Supreme Court rejected the contention that Enron’s “sheer number of victims” in the

Houston area “trigger[ed] a presumption of prejudice.” Skilling, 561 U.S. at 384 (quotation

omitted). “Although the widespread community impact necessitated careful identification and

inspection of prospective jurors’ connections to Enron,” the voir dire was “well suited to that task.”

Id. In this case, too, voir dire can adequately identify those D.C. residents who were so affected

by January 6 that they cannot impartially serve as jurors. There is no reason to presume prejudice.

       C.      The District of Columbia’s political makeup does not support a presumption
               of prejudice.

       The defendant also contends that he cannot obtain a fair trial in the District of Columbia

because more than 90% of its voters voted for the Democratic Party candidate in the 2020

Presidential Election. (ECF No. 42, at 15-16). The en banc D.C. Circuit rejected a nearly identical

claim in Haldeman, where the dissent concluded that a venue change was required because

“Washington, D.C. is unique in its overwhelming concentration of supporters of the Democratic

Party” and the Democratic candidate received 81.8% and 78.1% of the vote when Nixon ran for

President in 1968 and 1972, respectively. Haldeman, 559 F.2d at 160 (MacKinnon, J., concurring

in part and dissenting in part). The majority rejected the relevance of this fact, observing that

authority cited by the dissent gave no “intimation that a community’s voting patterns are at all



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pertinent to venue.” Id. at 64 n.43; see also United States v. Chapin, 515 F.2d 1274, 1286 (D.C.

Cir. 1975) (rejecting the argument that “because of [the defendant’s] connection with the Nixon

administration and his participation in a ‘dirty tricks’ campaign aimed at Democratic candidates

and with racial overtones, a truly fair and impartial jury could not have been drawn from the

District’s heavily black, and overwhelmingly Democratic, population”).

       If “the District of Columbia’s voting record in the past two presidential elections” is not

“at all pertinent to venue” in a case involving high-ranking members of a presidential

administration, Haldeman, 559 F.2d at 64 n.43, it cannot justify a change of venue here. To be

sure, some potential jurors might be unable to be impartial in January 6 cases based on

disagreement with the defendant’s political aims. But whether individual prospective jurors have

such disqualifying biases can be assessed during voir dire. This Court should not presume that

every member of a particular political party is biased simply because this case has a political

connection. Indeed, the Supreme Court has stated in the context of an election-fraud trial, that

“[t]he law assumes that every citizen is equally interested in the enforcement of the statute enacted

to guard the integrity of national elections, and that his political opinions or affiliations will not

stand in the way of an honest discharge of his duty as a juror in cases arising under that statute.”

Connors v. United States, 158 U.S. 408, 414 (1895). The same is true here. The District’s voting

record does not establish that this Court will be unable to select “an unbiased jury capable of basing

its verdict solely on the evidence introduced at trial.” Haldeman, 559 F.2d at 70.

       To the contrary, as the nation’s capital and seat of the federal government, the District has

been home to its fair share of trials in politically charged cases. High-profile individuals strongly

associated with a particular party, such as Marion Barry, John Poindexter, Oliver North, Scooter

Libby, and Roger Stone, have all been tried in the District. See United States v. Barry, 938 F.2d

1327 (D.C. Cir. 1991); United States v. Poindexter, 951 F.2d 369 (D.C. Cir. 1991); United States


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v. North, 910 F.2d 843 (D.C. Cir. 1990) (per curiam); United States v. Libby, 498 F. Supp. 2d 1

(D.D.C. 2007); United States v. Stone, No. 19-CR-0018 (ABJ), 2020 WL 1892360 (D.D.C. Apr.

16, 2020). Indeed, the Court in Stone rejected the argument that jurors “could not possibly view

[Roger Stone] independently from the President” because of his role in the presidential campaign

or that “if you do not like Donald Trump, you must not like Roger Stone.” 2020 WL 1892360, at

*30-31. Similarly here, the fact that most District residents voted against Donald Trump does not

mean those residents could not impartially consider the evidence against those charged in

connection with the events on January 6.

III.   The Pretrial Publicity Related to January 6 Does Not Support a Presumption of
       Prejudice in This District.

       The defendant also contends that prejudice should be presumed based on pretrial publicity

and media coverage of the January 6 events. (ECF No. 42, at 16-20). “The mere existence of

intense pretrial publicity is not enough to make a trial unfair, nor is the fact that potential jurors

have been exposed to this publicity.” United States v. Childress, 58 F.3d 693, 706 (D.C. Cir.

1995); see Murphy v. Florida, 421 U.S. 794, 799 (1975) (juror exposure to “news accounts of the

crime with which [a defendant] is charged” does not “alone presumptively deprive[] the defendant

of due process”). Indeed, “every case of public interest is almost, as a matter of necessity, brought

to the attention of all the intelligent people in the vicinity, and scarcely any one can be found

among those best fitted for jurors who has not read or heard of it, and who has not some impression

or some opinion in respect to its merits.” Reynolds v. United States, 98 U.S. 145, 155-56 (1878).

Thus, the “mere existence of any preconceived notion as to the guilt or innocence of an accused,

without more,” is insufficient to establish prejudice. Irvin, 366 U.S. at 723. “It is sufficient if the

juror can lay aside his impression or opinion and render a verdict based on the evidence presented

in court.” Id.



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       The Supreme Court has recognized only a narrow category of cases in which prejudice is

presumed to exist without regard to prospective jurors’ answers during voir dire. See Rideau v.

Louisiana, 373 U.S. 723 (1963). In Rideau, the defendant’s confession – obtained while he was

in jail and without an attorney present – was broadcast three times shortly before trial on a local

television station to audiences ranging from 24,000 to 53,000 individuals in a parish of

approximately 150,000 people. Id. at 724 (majority opinion), 728-729 (Clark, J., dissenting). The

Court concluded that, “to the tens of thousands of people who saw and heard it,” the televised

confession “in a very real sense was Rideau’s trial – at which he pleaded guilty to murder.” Rideau,

373 U.S. at 726. Thus, the Court “d[id] not hesitate to hold, without pausing to examine a

particularized transcript of the voir dire,” that these “kangaroo court proceedings” violated due

process. Id. at 726-27.

       Since Rideau, the Supreme Court has emphasized that a “presumption of prejudice …

attends only the extreme case,” Skilling, 561 U.S. at 381, and the Court has repeatedly “held in

other cases that trials have been fair in spite of widespread publicity,” Nebraska Press Ass’n v.

Stuart, 427 U.S. 539, 554 (1976). In the half century since Rideau, the Supreme Court has never

presumed prejudice based on pretrial publicity. But see Estes v. Texas, 381 U.S. 532 (1965)

(presuming prejudice based on media interference with courtroom proceedings); Sheppard v.

Maxwell, 384 U.S. 333 (1966) (same). In fact, courts have declined to transfer venue in some of

the most high-profile prosecutions in recent American history. See In re Tsarnaev, 780 F.3d 14,

15 (1st Cir. 2015) (per curiam) (capital prosecution of Boston Marathon bomber); Skilling, 561

U.S. at 399 (fraud trial of CEO of Enron Corporation); United States v. Yousef, 327 F.3d 56, 155

(2d Cir. 2003) (trial of participant in 1993 World Trade Center bombing); United States v.

Moussaoui, 43 Fed. Appx 612, 613 (4th Cir. 2002) (per curiam) (unpublished) (terrorism

prosecution for conspirator in September 11, 2001 attacks); Haldeman, 559 F.2d at 70 (Watergate


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prosecution of former Attorney General John Mitchell and other Nixon aides).

       In Skilling, the Supreme Court considered several factors in determining that prejudice

should not be presumed where former Enron executive Jeffrey Skilling was tried in Houston,

where Enron was based. Skilling, 561 U.S. at 382-383. First, the Court considered the “size and

characteristics of the community.” Id. at 382. Unlike Rideau, where the murder “was committed

in a parish of only 150,000 residents,” Houston was home to more than 4.5 million people eligible

for jury service. Id. at 382. Second, “although news stories about Skilling were not kind, they

contained no confession or other blatantly prejudicial information of the type readers or viewers

could not reasonably be expected to shut from sight.” Id. Third, “over four years elapsed between

Enron’s bankruptcy and Skilling’s trial,” and “the decibel level of media attention diminished

somewhat in the years following Enron’s collapse.” Id. at 383. “Finally, and of prime significance,

Skilling’s jury acquitted him of nine insider-trading counts,” which undermined any “supposition

of juror bias.” Id.

       Although these Skilling factors are not exhaustive, courts have found them useful when

considering claims of presumptive prejudice based on pretrial publicity. See, e.g., In re Tsarnaev,

780 F.3d at 21-22; United States v. Petters, 663 F.3d 375, 385 (8th Cir. 2011). And contrary to

the defendant’s contention, those factors do not support a presumption of prejudice in this case.

       A.      The factors identified in Skilling do not support a presumption of prejudice.

               1.      Size and characteristics of the community

       As noted, the defendant suggests (ECF No. 42, at 11) that an impartial jury cannot be found

in Washington, D.C., despite the District’s population of nearly 700,000. Although this District

may be smaller than most other federal judicial districts, it has a larger population than two states

(Wyoming and Vermont), and more than four times as many people as the parish in Rideau. The

relevant question is not whether the District of Columbia is as populous as the Southern District


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of Texas in Skilling, but whether it is large enough that an impartial jury can be found. In Mu’Min

v. Virginia, 500 U.S. 415, 429 (1991), the Court cited a county population of 182,537 as supporting

the view than an impartial jury could be selected. And Skilling approvingly cited a state case in

which there was “a reduced likelihood of prejudice” because the “venire was drawn from a pool

of over 600,000 individuals.” Skilling, 561 U.S. at 382 (quoting Gentile v. State Bar of Nev., 501

U.S. 1030, 1044 (1991)). There is no reason to believe that, out of an eligible jury pool of nearly

half a million, “12 impartial individuals could not be empaneled.” Id.

               2.      Nature of the pretrial publicity

       Nor does this case involve a “confession or other blatantly prejudicial information of the

type readers or viewers could not reasonably be expected to shut from sight.” Skilling, 561 U.S.

at 382. Even news stories that are “not kind,” Skilling, 561 U.S. at 382, or are “hostile in tone and

accusatory in content,” Haldeman, 559 F.2d at 61, do not alone raise a presumption of prejudice.

As in Skilling and Haldeman, the news coverage of Mels is “neither as inherently prejudicial nor

as unforgettable as the spectacle of Rideau’s dramatically staged and broadcast confession.” Id.

Indeed, although any media characterizations of Mels would be inadmissible, any photos of Mels

that have been disseminated would be both admissible and highly relevant at trial. Compare

Sheppard, 384 U.S. at 360 (noting that information reported by the media was “clearly

inadmissible” and that “[t]he exclusion of such evidence in court is rendered meaningless when

news media make it available to the public”), with Murray v. Schriro, 882 F.3d 778, 805 (9th Cir.

2018) (“There was no inflammatory barrage of information that would be inadmissible at trial.

Rather, the news reports focused on relaying mainly evidence presented at trial.”); Henderson v.

Dugger, 925 F.2d 1309, 1314 (11th Cir. 1991) (“[B]ecause we have found [the defendant’s]

confessions were admissible, the damage if any from the [pretrial] publicity is negligible.”).

       The defendant asserts that a fair trial cannot be had in D.C. because of the volume of news


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coverage of January 6. (ECF No. 42, at 17-19). But even “massive” news coverage of a crime

does not require prejudice to be presumed. Haldeman, 559 F.2d at 61. And a comparatively small

percentage of the news coverage of January 6 has focused on Mels himself. Unlike most cases

involving pretrial publicity, where the news coverage focuses on the responsibility of a single

defendant (as in Rideau or Tsarnaev) or small number of co-defendants (as in Skilling and

Haldeman), the events of January 6 involved thousands of participants and have so far resulted in

charges against more than 800 people. The Court can guard against any spillover prejudice from

the broader coverage of January 6 by conducting a careful voir dire and properly instructing the

jury about the need to determine a defendant’s individual guilt.

       And, in any event, any threat of such spillover prejudice is not limited to Washington, D.C.

because much of the news coverage of January 6 has been national in scope. See Haldeman, 559

F.2d at 64 n.43 (observing that “a change of venue would have been of only doubtful value” where

much of the news coverage was “national in [its] reach” and the crime was of national interest);

United States v. Bochene, No. 21-cr-418-RDM, 2022 WL 123893, at *3 (D.D.C. Jan. 12, 2022)

(“The fact that there has been ongoing media coverage of the breach of the Capitol and subsequent

prosecutions, both locally and nationally, means that the influence of that coverage would be

present wherever the trial is held.” (internal quotation marks omitted)). Moreover, many of the

news stories that mention the defendant appear to have been published by media organizations

with mostly local circulation in Mels’ home state of Michigan, not news outlet that are D.C.-based

or D.C.-focused. 3 As the Select Litigation poll demonstrates, the number of potential jurors


3
        See, e.g., MLive, As Jan. 6 hearings continue, these 15 Michiganders are charged in deadly
riot (June 13, 2022), https://www.mlive.com/public-interest/2022/06/as-jan-6-hearings-continue-
these-15-michiganders-are-charged-in-deadly-riot.html (last visited June 22, 2022); Detroit Free
Press, Shelby Township man arrested in connection with US Capitol riot (Feb. 11, 2021),
https://www.freep.com/story/news/local/michigan/macomb/2021/02/11/us-capitol-riot-james-
mels-michigan/6721642002/ (last visited June 22, 2022); The Detroit News, Feds arrest third

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exposed to “[a] lot” of news coverage of January 6 differs only slightly between Washington, D.C.

(33%) and other locales such as Atlanta (30%). (ECF No. 42-1, at 14 (Question 8)). Thus, the

nature and extent of the pretrial publicity do not support a presumption of prejudice.

               3.      Passage of time before trial

       In Skilling, the Court considered the fact that “over four years elapsed between Enron’s

bankruptcy and Skilling’s trial.” Skilling, 561 U.S. at 383. In this case, nearly 18 months have

already elapsed since the events of January 6, and more time will elapse before trial. This is far

more than in Rideau, where the defendant’s trial came two months after his televised confession.

Rideau, 373 U.S. at 724. Although January 6 continues to be in the news, the “decibel level of

media attention [has] diminished somewhat,” Skilling, 561 U.S. at 383. Moreover, only a

relatively small percentage of the recent stories have mentioned Mels himself, and much of the

reporting has been national is scope, rather than limited to Washington, D.C.

               4.      The jury verdict

       Because Mels has not yet gone to trial, the final Skilling factor – whether the “jury’s verdict

… undermine[s] in any way the supposition of juror bias,” Skilling, 561 U.S. at 383 – does not

directly apply. But the fact that Skilling considered this factor to be “of prime significance,” id.,

underscores how unusual it is to presume prejudice before trial. Ordinarily, a case should proceed

to trial in the district where the crime was committed, and courts can examine after trial whether

the record supports a finding of actual or presumed prejudice. In short, none of the Skilling factors

support the defendant’s contention that the Court should presume prejudice and order a transfer of

venue without even conducting voir dire.

       B.      The Select Litigation/News Exposure media analysis does not support a


Michigan        resident      in    Capitol        riot     probe     (Feb.     11,    2021),
https://www.detroitnews.com/story/news/politics/2021/02/11/feds-arrest-third-michigan-
resident-capitol-riot-probe/6720584002/ (last visited June 22, 2022).

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               presumption of prejudice.

       The defendant relatedly contends that the media analysis conducted by Select Litigation

(through News Exposure) supports a presumption of prejudice. (ECF No. 42, at 19-20). Again,

he is incorrect. He first asserts that, “[i]n one year, D.C. newspapers published at least 500 articles

about January 6, and local news syndicates broadcast over 7000 stories about the day,” which he

says is “far more extensive and contemporaneous than that in Skilling.” (Id. at 19). Mels

incorrectly compares news coverage of January 6 as a whole with coverage of the specific

defendant in Skilling, rather than the larger crime in which he was involved. Jeffrey Skilling was

a former executive of Enron Corporation, and the Houston Chronicle “mentioned Enron in more

than 4,000 articles during the 3-year period following the company’s December 2001 bankruptcy”

with “[h]undreds of these articles discussing Skilling by name.” Skilling, 561 U.S. at 428

(Sotomayor, J., concurring in part and dissenting in part). During a 29-month period, “local

stations aired an estimated 19,000 news segments involving Enron, more than 1,600 of which

mentioned Skilling.” Id. at 429. Based on these data, the local Houston coverage of Enron’s

collapse was actually higher than the local D.C. coverage of January 6 – with an average of more

than 1,300 newspaper articles per year and more than 7,800 broadcast stories per year.

       Mels also points (ECF No. 42 at 19) to News Exposure’s finding that, in nine of the 13

months analyzed, the Washington Post ran more news stories about January 6 than did the Atlanta

Journal-Constitution. (ECF No. 42-1, at 8-9). Again, because Mels does not appear to have any

connection to Atlanta, this provides no insight into the media exposure of prospective jurors in an

alternative district in which Mels might feasibly be tried.

       Moreover, for several reasons, these statistics do not demonstrate that media exposure was

significantly different in Atlanta than in Washington, D.C. First, the comparison fails to account

for the comparative sizes and circulations of the two newspapers. It should not be surprising that


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a large national newspaper would print more articles on the same topic than a regional newspaper.

Second, the analysis does not account for the fact that many Americans receive their news from

national sources such as CNN or Fox News, often filtered through social media. Thus, prospective

jurors in both Washington, D.C. and Atlanta are not limited to their local newspapers and television

broadcast stations and may well have been exposed to much of the same media coverage. Third,

simply counting the number of news articles in a given source is not a good way to measure

prospective jurors’ media exposure. Indeed, the Select Litigation poll shows comparatively small

variations in media exposure between Washington, D.C. and Atlanta. According to that poll, 99%

of D.C. respondents were aware of the January 6 demonstrations, compared to 93% in Atlanta, and

33% of D.C. respondents had seen “A lot” of coverage, compared to 30% in Atlanta. (ECF No.

42-1, at 13-14). Like the Watergate scandal at issue in Haldeman, the storming of the Capitol on

January 6, 2021, was “not a local crime of peculiar interest to the residents of the District of

Columbia” but one that generated national interest. Haldeman, 559 F.2d at 64 n.43.

       The Select Litigation/News Exposure analysis also concludes that “the number of hits from

internet sites based in the District of Columbia area was four times higher than the comparable

number of hits from sites based in the Atlanta area.” (ECF No. 42-1, at 9). But the analysis

includes no information about where these hits came from. Many of the hits on D.C.-based news

sources likely came from readers outside the District itself, such as readers in the Northern Virginia

and Maryland suburbs or readers from other parts of the country who were directed to D.C.-based

news reporting on social media. A reader in California, for example, would be far more likely to

read about January 6 on the Washington Post than on the Atlanta Journal-Constitution. Without

additional information, this analysis of Internet hits is essentially meaningless.

       The Select Litigation/News Exposure analysis is also unhelpful because it considered only

the coverage of January 6 in general, as opposed to the coverage of Mels. Mels is one of more


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than 800 defendants charged in connection with January 6, and only a miniscule fraction of the

media coverage has focused on Mels. The coverage of Mels is surely less significant than in

Skilling, where the Houston Chronicle “mentioned Enron in more than 4,000 articles during the 3-

year period following the company’s December 2001 bankruptcy” with “[h]undreds of these

articles discussing Skilling by name.” Skilling, 561 U.S. at 428 (Sotomayor, J., concurring in part

and dissenting in part).

       Finally, the media analysis fails to support a presumption of prejudice because mere

exposure to pretrial publicity does not disqualify a potential juror.       “Prominence does not

necessarily produce prejudice, and juror impartiality … does not require ignorance.” Skilling, 561

U.S. at 381. The Supreme Court has found no presumption of prejudice even when 98% of

prospective jurors had heard of the case and 77% indicated on voir dire that “they would carry an

opinion into the jury box.” Patton, 467 U.S. at 1029. The mere fact that Washington, D.C. news

outlets have run more stories about January 6 (and received more hits) than have Atlanta outlets

does not suggest that an impartial jury cannot be selected in Washington D.C.

IV.    The Publicity and Reduction of the Jury Pool Caused by Other January 6 Trials in
       this District Do Not Support a Change of Venue.

       The defendant argues that he is likely to be prejudiced by the publicity generated by other

recent trials involving charges based on the events of January 6. (ECF No. 41, at 22). Although

the trials in those cases have generated media coverage, that coverage was not confined to the

District of Columbia and was focused on the defendants in those cases, without mentioning Mels.

The defendant cannot show that jurors in this District, carefully selected after a thorough voir dire

and properly instructed in the law, would be more likely to convict him simply because they were

exposed to media coverage of other January 6 trials. Nor can the defendant show that any such

asserted prejudice would be meaningfully different in another jurisdiction, given the national



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coverage of these trials. Additionally, by the time the defendant has gone to trial, even more time

will have passed since the siege at the Capitol on January 6, 2021, and since these initial January

6 trials. And as more January 6 defendants go to trial, the level of media attention given to each

particular trial is likely to diminish.

        The defendant also argues (ECF No. 42, at 22) that, as additional January 6 trials take place,

the pool of potential jurors will shrink, making it more difficult to obtain an impartial jury. But

each trial will barely touch the potential jury pool. Assuming (1) a jury pool of 500,000 out of

nearly 700,000 residents, (2) approximately 80 people being summoned per trial, and (3) that no

one even summoned for jury service in a January 6 case could be summoned again, over 60 trials

will have to occur before one percent of the jury pool has been called. Accordingly, by the time

the defendant’s case proceeds to trial, there will still be hundreds of thousands of potential jurors,

who have never been summoned to a January 6 trial, available for voir dire.

V.      The Voir Dire Process in the First January 6 Jury Trials Has Demonstrated the
        Availability of a Significant Number of Fair, Impartial Jurors in the D.C. Venire.

        At this point, several other January 6 cases have proceeded to jury trials, and the Court in

each of those cases has been able to select a jury without undue expenditure of time or effort. See

Murphy, 421 U.S. at 802-03 (“The length to which the trial court must go to select jurors who

appear to be impartial is another factor relevant in evaluating those jurors’ assurances of

impartiality.”); Haldeman, 559 F.2d at 63 (observing that “if an impartial jury actually cannot be

selected, that fact should become evident at the voir dire”). Instead, the judges presiding over each

of those trials was able to select a jury in one or two days. See United States v. Reffitt, 21-cr-32,

Minute Entries (D.D.C. Feb. 28 and Mar. 1, 2022); United States v. Robertson, 21-cr-34-CRC,

Minute Entry (D.D.C. Apr. 5, 2022); United States v. Thompson, 21-cr-161, Minute Entry (D.D.C.

Apr. 11, 2022); United States v. Webster, No. 21-cr-208, Minute Entry (D.D.C. Apr. 25, 2022);



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United States v. Hale-Cusanelli, 21-cr-37, Minute Entry (D.D.C. May 23, 2022). And the voir

dire in these cases undermines the defendant’s claim that prejudice should be presumed. 4

       In Reffitt, the Court individually examined 56 prospective jurors and qualified 38 of them

(about 68% of those examined). See Reffitt Trial Tr. 521. The Court asked all the prospective

jurors whether they had “an opinion about Mr. Reffitt’s guilt or innocence in this case” and whether

they had any “strong feelings or opinions” about the events of January 6 or any political beliefs

that it would make it difficult to be a “fair and impartial” juror. Reffitt Trial Tr. 23, 30. The Court

then followed up during individual voir dire and qualified ten prospective jurors who had answered

one or more of those bias questions affirmatively but who clarified during individual questioning

that they could decide the case fairly and impartially. 5 Of the 18 jurors that were struck for cause,

only nine (or 16% of the 56 people examined) indicated that they had such strong feelings about

the events of January 6 that they could not serve as fair or impartial jurors. 6

       In Thompson, the Court individually examined 34 prospective jurors, and qualified 25 of

them (or 73%). See Thompson 4-11-22 Tr. 169, 171, 180, 189, 192. The court asked the entire

venire 47 standard questions, and then followed up on their affirmative answers during individual


       4
          Because they remain restricted on PACER, the transcripts from the voir dire proceedings
in these trials are being submitted under separate cover to the Court and counsel.
       5
         Reffitt Trial Tr. 60-61 (Juror 1541); 87-88 (Juror 1332); 104-106 (Juror 457); 162-165
(Juror 1486); 188, 191-194, 201 (Juror 1675); 289-290, 297-298 (Juror 365); 301-303, 307-309
(Juror 38); 326-333 (Juror 1655), 427-331 (Juror 344), 436-440 (Juror 1221).
       6
         For those struck based on a professed inability to be impartial, see Reffitt Trial Tr. 49-54
(Juror 328), 61-68 (Juror 1541), 112-29 (Juror 1046), 172-73 (Juror 443), 174-78 (Juror 45), 202-
09 (Juror 1747), 223-35 (Juror 432), 263-74 (Juror 514), 358-69 (Juror 1484). For those struck
for other reasons, see Reffitt Trial Tr. 168-172 (Juror 313, worked at Library of Congress), 209-
224, 281 (Juror 728, moved out of D.C.), 284 (Juror 1650, over 70 and declined to serve), 340-351
(Juror 548, unavailability), 382 (Juror 715, anxiety and views on guns), 398 (Juror 548, medical
appointments), 441-43 (Juror 1240, health hardship), 453-465 (Juror 464, worked at Library of
Congress), 465-481 (Juror 1054, prior knowledge of facts).


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voir dire. Id. at 3-4, 34. Of the nine prospective jurors struck for cause, only three (or about 9%

of those examined) were stricken based on an inability to be impartial, as opposed to some other

cause. 7

           Similarly, in Robertson, the Court individually examined 49 prospective jurors and

qualified 34 of them (or about 69% of those examined). See Robertson Trial Tr. 302. The Court

asked all prospective jurors whether they had “such strong feelings” about the events of January 6

that it would be “difficult” to follow the court’s instructions “and render a fair and impartial

verdict.” Id. at 14. It asked whether anything about the allegations in that case would prevent

prospective jurors from “being neutral and fair” and whether their political views would affect

their ability to be “fair and impartial.” Id. at 13, 15. The Court followed up on affirmative answers

to those questions during individual voir dire. Of the 15 prospective jurors struck for cause, only

nine (or 18% of the 49 people examined) indicated that they had such strong feelings about the

January 6 events that they could not be fair or impartial. 8

           In Webster, the Court individually examined 53 jurors and qualified 35 of them (or 66%).

Webster 4-26-22 AM Tr. 6, though it later excused one of those 35 based on hardship, Webster 4-

25-22 PM Tr. 217-18. The Court asked all prospective jurors whether they had “strong feelings”

about the events of January 6 or about the former President that would “make it difficult for [the



           7
         For the three stricken for bias, see Thompson 4-11-22 Tr. 52 (Juror 1242), 85 (Juror 328),
158 (Juror 999). For the six stricken for hardship or inability to focus, see id. at 43 (Juror 1513),
44 (Juror 1267), 49 (Juror 503), 40 (Juror 1290), 92 (Juror 229), 109 (Juror 1266).
           8
          For those struck based on a professed inability to be impartial, see Robertson Trial Tr.
26-34 (Juror 1431), 97-100 (Juror 1567), 121-130 (Juror 936), 136-142 (Juror 799), 160-171 (Juror
696), 189-193 (Juror 429), 256-265 (Juror 1010), 265-268 (Juror 585), 287-292 (Juror 1160). For
those struck for other reasons, see Robertson Trial Tr. 23-26 (Juror 1566, hardship related to care
for elderly sisters), 83-84 (Juror 1027, moved out of D.C.), 156-160 (Juror 1122, language
concerns), 193-196 (Juror 505, work hardship), 245-250 (Juror 474, work trip); 279-282 (Juror
846, preplanned trip).

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prospective juror] to serve as a fair and impartial juror in this case.” Webster 4-25-22 AM Tr. 19.

During individual voir dire, the Court followed up on affirmative answers to clarify whether

prospective jurors could set aside their feelings and decide the case fairly. See, e.g., id. at 32-33,

41-42, 54-56, 63, 65-66. Only 10 out of 53 prospective jurors (or about 19%) were stricken based

on a professed or imputed inability to be impartial, as opposed to some other reason. 9 The Webster

Court observed that this number “was actually relatively low” and therefore “doesn’t bear out the

concerns that were at root in the venue transfer motion” in that case. Webster, 4-26-22 AM Tr. 7.

       In Hale-Cusanelli, the Court individually examined 47 prospective jurors and qualified 32

of them (or 68%). Hale-Cusanelli Trial Tr. 226, 231. The Court asked prospective jurors questions

similar to those asked in the other trials. See id. at 72-74 (Questions 16, 20). Of the 15 prospective

jurors struck for cause, 11 (or 23% of those examined) were stricken based on a connection to the

events of January 6 or a professed inability to be impartial. 10

       In these first five jury trials, the percentage of prospective jurors stricken for cause based

on partiality is far lower than in Irvin, where the Supreme Court said that “statement[s] of

impartiality” by some prospective jurors could be given “little weight” based on the number of

other prospective jurors who “admitted prejudice.” Irvin, 366 U.S. at 728. In Irvin, 268 of 430




       9
         Nine of the 19 stricken jurors were excused based on hardship or a religious belief. See
Webster 4-25-22 AM Tr. 46 (Juror 1464), 49-50 (Juror 1132), 61 (Juror 1153), 68 (Juror 951), 78
(Juror 419); Webster 4-25-22 PM Tr. 102-104, 207, 217 (Juror 571), 188 (Juror 1114), 191 (Juror
176), 203-04 (Juror 1262). Of the ten other stricken jurors, three professed an ability to be
impartial but were nevertheless stricken based on a connection to the events or to the U.S.
Attorney’s Office. See Webster 4-25-22 AM Tr. at 58-60 (Juror 689 was a deputy chief of staff
for a member of congress); Webster 4-25-22 PM Tr. at 139-141 (Juror 625’s former mother-in-
law was a member of congress); 196-198 (Juror 780 was a former Assistant U.S. Attorney in D.C.).
       10
          See Hale-Cusanelli Trial Tr. 62 (Juror 499), 67-68 (Juror 872), 84-85 (Juror 206), 92-93
(Juror 653), 124-25 (Juror 1129), 152 (Juror 182), 156 (Juror 176), 182 (Juror 890), 197-98 (Juror
870), 217 (Juror 1111), 224 (Juror 1412). For the four jurors excused for hardship, see id. at 77-
79 (Juror 1524), 99 (Juror 1094), 132 (Juror 1014), 151 (Juror 899).

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prospective jurors (or 62%) were stricken for cause based on “fixed opinions as to the guilt of

petitioner.” Id. at 727. The percentage of partiality-based strikes in these January 6-related trials

– between 9% and 23% of those examined – is far lower than the 62% in Irvin. The percentage in

these cases is lower even than in Murphy, where 20 of 78 prospective jurors (25%) were “excused

because they indicated an opinion as to petitioner’s guilt.” Murphy, 421 U.S. at 803. Murphy said

that this percentage “by no means suggests a community with sentiment so poisoned against

petitioner as to impeach the indifference of jurors who displayed no animus of their own.” Id. As

in Murphy, the number of prospective jurors indicating bias does not call into question the

qualifications of others whose statements of impartiality the Court has credited.

       Far from showing that “an impartial jury actually cannot be selected,” Haldeman, 559 F.2d

at 63, the first five January 6-related jury trials have confirmed that voir dire can adequately screen

out prospective jurors who cannot be fair and impartial, while leaving more than sufficient

qualified jurors to hear the case. The Court should deny the defendant’s request for a venue

transfer and should instead rely on a thorough voir dire to protect the defendant’s right to an

impartial jury.

VI.    A Change of Venue Is Not Warranted Under Federal Rule of Criminal Procedure
       21(b) Based on Convenience or the Interest of Justice.

       The defendant also suggests, in a single sentence, that this Court should transfer venue

outside of the District of Columbia “at least pursuant to the Court’s discretion under Rule 21 of

the Rules of Criminal Procedure.” (ECF No. 42, at 21). To the extent Mels purports to repackage

his arguments as a request under Federal Rule of Criminal Procedure 21(b) – which allows transfer

to another district “for the convenience of the parties, any victim, and the witnesses, and in the

interest of justice,” Fed. R. Crim. P. 21(b) – his argument fails for the reasons discussed above.

       “There is a general presumption that a criminal prosecution should be retained in the



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original district.” United States v. Bowdoin, 770 F. Supp. 2d 133, 138 (D.D.C. 2011) (quoting

United States v. Baltimore & Ohio R.R., 538 F. Supp. 200, 205 (D.D.C. 1982)). That presumption

is rooted in the Constitution, which states that “[t]he trial of all Crimes … shall be held in the State

where the said Crimes shall have been committed.” U.S. Const. Art. III, § 2, cl. 3. And it is

reflected in the Federal Rules of Criminal Procedure, which state that, “[u]nless a statute or these

rules permit otherwise, the government must prosecute an offense in a district where the offense

was committed.” Fed. R. Crim. P. 18. To obtain a change of venue under Rule 21(b), a defendant

must demonstrate that trial in the district where the crime occurred “would be so unduly

burdensome that fairness requires the transfer to another district of proper venue where a trial

would be less burdensome.” Bowdoin, 770 F. Supp. 2d at 138 (quotations marks omitted). For

good reason, Mels does not even attempt to show that a transfer would serve that purpose. The

events at issue took place in the District of Columbia, and the witnesses and evidence are in this

District. Holding a trial in another district would require a significant expenditure of government

funds for the prosecution team and witnesses to travel to that district.

        Instead, Mels apparently maintains that venue should be transferred under Rule 21(b)

because another (unspecified) district might provide him with a fairer jury pool. (ECF No. 42, at

21). But that assertion is unavailing. As explained above, the defendant cannot obtain a change

of venue based on prejudicial publicity under the constitutional standard or Rule 21(a). And the

defendant cannot use Rule 21(b)’s “interest of justice” standard as an alternative way to raise a

claim of “local community prejudice.” Jones v. Gasch, 404 F.2d 1231, 1238 (D.C. Cir. 1967); see

also id. at 1239 (holding “that the standard of Rule 21(a) is the exclusive gauge by which

circumstances of that character (prejudice) are to be measured”).

VII.    A Jury Questionnaire Is Not Necessary in This Case.

        The defendant also contends, in a footnote (ECF No. 43, at 22 n.21), that this Court should


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use a jury questionnaire in selecting a jury. He is incorrect. Although this Court has discretion to

use a written questionnaire, it need not do so because it can select an impartial jury using only in-

person voir dire. 11 Issues of pretrial publicity and potential prejudice are more meaningfully

explored by in-person examination than by use of a jury questionnaire. “[W]ritten answers [do]

not give counsel or the court any exposure to the demeanor of the juror in answering the …

questions.” Mu’Min, 500 U.S. at 425. A prospective juror’s tone of voice and demeanor are

important. See Rosales-Lopez, 451 U.S. at 188 (observing that the court “must reach conclusions”

based on its “own evaluation[] of demeanor evidence and of response to questions”). Indeed,

“[h]ow a person says something can be as telling as what a person says.” United States v. Jackson,

863 F. Supp. 1449, 1459 (D. Kan. 1994); see also Mu’Min, 500 U.S. at 433 (O’Connor, J.,

concurring) (“A particular juror’s tone of voice or demeanor might have suggested to the trial

judge that the juror had formed an opinion about the case and should therefore be excused.”). And

even where a questionnaire is used, in-person follow-up questioning is important to give the court

the “face-to-face opportunity to gauge demeanor and credibility.” Skilling, 561 U.S. at 395. A

jury questionnaire would not materially assist jury selection in this case, since there is no

suggestion that this particular defendant has received significant, unfavorable pretrial publicity,

and any potential prejudice due to general media coverage of the events of January 6, 2021, can

be adequately probed through in-person voir dire examination.



       11
          Some judges in this District have used written questionnaires to aid in screening potential
jurors in particular cases. See, e.g., United States v. Stone, --- F. Supp. 3d ---, 2020 WL 1892360,
at *2-3 (D.D.C. Apr. 16, 2020); United States v. Lorenzana-Cordon, No. 03-CR-331, 2016 WL
11664054, at *1 (D.D.C. Feb. 22, 2016). And one judge has granted a request to use a
questionnaire in a January 6 trial that has not yet occurred. United States v. Alford, 21-cr-263,
ECF No. 46 at 15 (D.D.C. Apr. 18, 2022) (TSC). But the practice is not common in this District.
And judges in other January 6 cases have achieved the efficiency often served by questionnaires
by using a hybrid voir dire in which the court initially asks questions of the entire venire, with
prospective jurors noting their answers on notecards, followed by individual questioning.

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                                       CONCLUSION

       For the foregoing reasons, the defendant’s motion to transfer venue should be denied.

Dated: June 23, 2022.


                                       Respectfully submitted,

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